The matter was heard before the Full Commission on June 30, 1998. One of the matters before the Full Commission was the proper calculation of plaintiff's average weekly wage. Deputy Commissioner Berger, in his Opinion and Award, included in the calculation of plaintiff's average week a sum of one hundred dollars for the lodging and food that plaintiff received as a part of his employment with the defendant-employer. The defendants contend that the lodging was not an allowance made in lieu of wages and that Deputy Commissioner Berger miscalculated the plaintiff's average weekly wage by including the lodging as part of plaintiff's earnings. The Full Commission has determined that the lodging is a part of the plaintiff's earnings and should be included in the calculation of his average weekly wage, but there is insufficient evidence of record to determine a reasonable market value of the lodgings.
Accordingly, the Full Commission REOPENS the record for further information on the value of the lodgings received by the plaintiff.
                                  ORDER
IT IS HEREBY ORDERED that the record in this case is reopened for additional evidence, either by stipulation or through deposition, as to the reasonable market value of the lodgings that plaintiff received during his employment with the defendant-employer. This information shall be submitted to the Commission within 45 days from the filing of this Order. All supplemental evidence, briefs, contentions, and motions shall be submitted to Commissioner Laura K. Mavretic. The Full Commission retains jurisdiction of this case, and when the requested information has been properly submitted to the Industrial Commission, an Opinion and Award in this matter will be rendered.
This the ___ day of July 1998.
                                  S/_____________ LAURA KRANIFELD MAVRETIC COMMISSIONER
CONCURRING:
S/_____________ THOMAS J. BOLCH COMMISSIONER
S/_____________ RENEE C. RIGGSBEE COMMISSIONER
LKM/jth